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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JOHN DOE, an individual,

      Plaintiff,

vs.                                                   Case No.: 18-cv-11776
                                                      Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN (as to Title IX                Mag. Elizabeth A. Stafford
violations), BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, a constitutional
corporate body (as to Title IX & ELCRA
violations), PAMELA HEATLIE, ROBERT                    PLAINTIFF’S MOTION
SELLERS, MARTIN PHILBERT, ERIK                           FOR AWARD OF
WESSEL, LAURA BLAKE JONES, E.                               INTERIM
ROYSTER HARPER, SUZANNE MCFADDEN,                      ATTORNEY FEES AND
and PAUL ROBINSON, employees of the                    COSTS AS TO HIS DUE
University of Michigan, sued in his or her personal      PROCESS CLAIM
and official capacities, jointly and severally,

      Defendants.

DEBORAH GORDON LAW                           SAUL EWING ARNSTEIN &
Deborah L. Gordon (P27058)                   LEHR LLP
Elizabeth A. Marzotto Taylor (P82061)        Joshua W. B. Richards
Attorneys for Plaintiff                      Amy L. Piccola
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                                             AND STONE, P.L.C.
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       NOW COMES Plaintiff, by and through his attorneys Deborah Gordon Law,

 and files his Motion for Imposition of Interim Attorney Fees and Costs as to his

 Due Process Claim only for the following reasons:

       1.     On September 25, 2017, the United States Court of Appeals for the

 Sixth Circuit issued its Opinion in Doe v. Univ. of Cincinnati (“Cincinnati”), 872

 F.3d 393 (6th Cir. 2017), holding that where credibility is at stake, a live hearing

 and cross-examination of some type is required.

       2.     On February 7, 2018, the University issued a new Sexual Misconduct

 Policy. The Policy did not comply with Cincinnati in that it did not provide for a

 live hearing or any form of cross-examination.

       3.     On March 12, 2018, a female student filed an OIE complaint against

 Plaintiff, alleging that Plaintiff had a sexual encounter with her that was not

 consensual. Plaintiff states that it was consensual. There were no witnesses to the

 encounter.

       4.     The University began an adjudication of the OIE complaint using the

 unconstitutional February 7, 2018 Policy.

       5.     By April 2018, Plaintiff had earned all of the credits to graduate cum

 laude with a degree in engineering. The investigation was ongoing. But based only

 on a mere allegation and no findings, the University placed a hold of indefinite

 duration on his degree and transcript.


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       6.      On June 4, 2018, Plaintiff filed this lawsuit against Defendants based

 on the violation of his due process rights.

       7.      On June 5, 2018, Plaintiff filed a Motion for Temporary Restraining

 Order and Preliminary Injunction [Dkt. # 4], requesting that this Court immediately

 enjoin Defendants from: 1) withholding Plaintiff’s official transcript and degree; 2)

 continuing their unconstitutional investigation into whether Plaintiff violated the

 Policy, as well as the sanctions and appeals process under the Policy; and 3)

 continuing to use their unconstitutional Policy.

       8.      In addition, Doe sought leave to use a pseudonym in this case (Motion

 to Proceed Under Pseudonym, RE 2, Page ID # 95-108). Defendants punitively

 fought the use of a pseudonym in an effort to deny Plaintiff privacy, causing him

 further harm, and to discourage him and others from pursuing litigation. (Response

 to Motion to Proceed Under Pseudonym, RE 7, Page ID # 229-238).

       9.      On June 14, 2018, this Court granted Plaintiff’s Motion as to his

 demand that the University release and provide him with his transcript. This Court

 further held the remaining issues to be decided after a hearing. (Dkt. # 19, Page ID

 # 269-270).

       10.     On July 6, 2018, this Court, after hearing the remaining issues in

 Plaintiff’s TRO, granted in part and denied in part Plaintiff’s Motion (Dkt. # 30,

 Page ID # 726-744). The Court ordered that the University provide Plaintiff “with


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 the procedures set forth in its Statement of Student Rights and Responsibilities,

 excluding the provision in Stage 2, ¶ C, which authorizes the respondent to

 question the complainant directly” (Id., Page ID # 744). This Court explained that

 “Plaintiff may question Claimant through the RO, RC, or Student Resolution

 Panel” only (Id).

       11.    On July 25, 2018, Defendants appealed this Court’s July 6, 2018

 Order granting Plaintiff’s preliminary injunction [Dkt. # 32, Page ID # 818-820] to

 the United States Court of Appeals for the Sixth Circuit [Case No. 18-1870].

       12.    On August 7, 2018, Plaintiff cross-appealed the same Order, which

 denied him the opportunity to cross-examine witnesses during a live hearing [Dkt.

 # 36, Page ID # 1067-1069], to the Sixth Circuit [Case No. 18-1903].

       13.    On August 22, 2018, this Court granted Defendants’ Motion to Stay

 Pending Appeal [Dkt. # 41, Page ID 1260-1262].

       14.    On September 7, 2018, in Doe v. Baum, et al, 903 F.3d 575 (6th Cir.

 2018),   the Sixth Circuit issued its Opinion, holding in pertinent part, that

 Defendants’ Policy, similar to that used to adjudicate the complaint brought against

 Plaintiff beginning on March 20, 2018, violated well-established due process

 standards, and finding:

       “if a public university has to choose between competing narratives to
       resolve a case, the university must give the accused student or his
       agent an opportunity to cross-examine the accuser and adverse
       witnesses in the presence of a neutral fact-finder. Because the
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       University of Michigan failed to comply with this rule, we
       reverse.” Doe v. Baum, 903 F.3d 575, 578 (6th Cir. 2018) (emphasis
       added).

       15.   On September 24, 2018, Defendants filed a Petition for Rehearing and

 Rehearing En Banc in Baum, [Case No. 17-2213, RE 49-1, p. 5-6], and argued that

 1) the Court’s holding conflicted with the Court’s prior decisions; and 2) the

 Court’s determination that Plaintiff satisfied the pleading requirements for stating

 an “erroneous outcome” claim under Title IX, 20 U.S. C. §1681(a) conflicted with

 the Court’s prior decisions, drastically lowered Title IX pleading requirements and

 contradicted the record evidence. The Court denied the University’s Petition on

 October 11, 2018. (Case No. 17-2213, RE 56-1).

       16.   On October 11, 2018, the Court denied the University’s Petition.

 (Case No. 17-2213, RE 56-1).

       17.   In the instant matter and in an additional attempt to stop case from

 moving forward, Defendants argued to the Sixth Circuit that Plaintiff lacked

 standing and that his claims were not “ripe.” (RE 23).

       18.   On January 9, 2019, under pressure from this Court’s July 6, 2018

 Order and after the Baum decision, the University replaced its unconstitutional

 2018 Policy adjudicating sexual misconduct allegations with a 2019 “Interim

 Policy,” because, as publicly conceded by University President Mark Schlissel on

 January 29, 2019, “the current law,” required such a policy change.

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       19.    On April 10, 2019, the Sixth Circuit issued its Order [RE 35-1]

 vacating this Court’s preliminary injunction, which restricted Plaintiff’s ability to

 cross-examine all witnesses during the University’s hearing process, and

 remanding the case for reconsideration in light of Baum and the University’s 2019

 Interim Policy, and never addressed the University’s standing and ripeness

 argument.

       20.    In any action to enforce a provision of 42 USC § 1983, § 1988 of that

 title permits the court to allow the prevailing party reasonable attorney fees if he

 succeeds on any significant issue in litigation which achieves some of the benefit

 he sought in bringing the lawsuit. Hensley v. Eckhart, 461 U.S. 424, 433 (1983)

 (quoting Nadeau v. Helgemoe, 581 F.2d 275, 278-79 (1st Cir. 1978)).

       21.    The Supreme Court has held that a prevailing party should be awarded

 reasonable attorney fees “unless special circumstances would render such an award

 unjust.” Id. at 429 (internal citations omitted).

       22.    Accordingly, 42 USC § 1988(b) permits a court to award interim

 attorney fees to a prevailing party, even where a final decision in the case has yet

 to be rendered.

       23.    An award of interim attorneys' fees is appropriate even during the

 pendency of litigation where: “the court has entered a concrete order that

 ‘determines substantial rights of the parties,’ meaning ‘when a party has prevailed


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 on the merits of at least some of his claims.’” Webster v. Sowders, 846 F.2d 1032,

 1036 (6th Cir. 1988) (citing Hanrahan v. Hampton, 446 U.S. 754, 757-58 (1980)

 (per curiam) (quoting Bradley v. Richmond Sch. Bd., 416 U.S. 696, 723 n.28,

 (1974))).

         24.   Based on Orders that have been made by this Court and Plaintiff’s

 success on the merits, which are now permanent, Plaintiff is entitled to an award of

 interim attorney fees and costs.

         25.   Plaintiff sought Defendants’ concurrence for this Motion on May 21,

 2019.

         WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

 holding that Plaintiff is a prevailing party for the purposes of obtaining an interim

 fee award, and accordingly that Plaintiff is entitled to an award of interim attorney

 fees and costs including:

         A. Attorney fees (Deborah Gordon Law) in the amount of $109,246.5.
            Exhibit A.

         B. Costs (Deborah Gordon Law) in the amount of $3,737.62. Exhibit B.

         Plaintiff further requests oral argument regarding the relief requested in the

 instant Motion and Brief.

 Dated: May 23, 2019                     Respectfully submitted,

                                         DEBORAH GORDON LAW
                                         /s/Deborah L. Gordon (P27058)
                                         Elizabeth A. Marzotto Taylor (P82061)
                                            6
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

JOHN DOE, an individual,

       Plaintiff,

vs.
                                                        Case No.: 18-cv-11776
                                                        Hon. Arthur J. Tarnow
UNIVERSITY OF MICHIGAN (as to Title IX
                                                        Mag. Elizabeth A. Stafford
violations), BOARD OF REGENTS OF THE
UNIVERSITY OF MICHIGAN, a
constitutional corporate body (as to Title IX &
ELCRA violations), PAMELA HEATLIE,
ROBERT SELLERS, MARTIN PHILBERT,                            PLAINTIFF’S BRIEF IN
ERIK WESSEL, LAURA BLAKE JONES, E.                            SUPPORT OF HIS
ROYSTER HARPER, SUZANNE                                     MOTION FOR AWARD
MCFADDEN, and PAUL ROBINSON,                                    OF INTERIM
employees of the University of Michigan, sued in            ATTORNEY FEES AND
his or her personal and official capacities, jointly        COSTS AS TO HIS DUE
and severally,                                                PROCESS CLAIM
       Defendants.

DEBORAH GORDON LAW                               SAUL EWING ARNSTEIN &
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Elizabeth A. Marzotto Taylor (P82061)            Joshua W. B. Richards
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   I.   Introduction

        Defendants     wrongfully    and    unconstitutionally   withheld    Plaintiff’s

 engineering degree based on a mere allegation against him filed by another student.

 Defendants then attempted to adjudicate the complaint against Plaintiff under a

 procedure that did not provide constitutional due process and that could result in

 the deprivation of his property and liberty interest.

        In response, Plaintiff was forced to file a lawsuit against the University for

 violating his due process rights and to prevent the University from continuing to

 use their unconstitutional process and procedure. As set forth below, Plaintiff has

 achieved significant success on the merits and has changed the legal standing

 between the parties. Now, having returned to this Court from the Sixth Circuit,

 Plaintiff seeks an award of interim attorney fees and costs.

  II.   Statement of Facts

        On September 25, 2017, the United States Court of Appeals for the Sixth

 Circuit issued its Opinion in Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir.

 2017). The ruling required that where credibility is at stake, a live hearing and

 cross-examination of some type is required.

        The University of Michigan’s Statement of Student Rights and

 Responsibilities (“Statement”) had long provided students accused of misconduct a

 full hearing and the opportunity to cross-examine the opposite party and all


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 witnesses in front of the ultimate fact finder. The University excluded students

 accused of “sexual misconduct” from due process provided in the Statement. The

 University created a separate policy (“Policy”) for “sexual” misconduct and

 precluded a live hearing or any form of cross-examination and provided for

 private, unrecorded interviews by the investigator. (Policy, RE 4-2, Page ID 206-

 216).

         On March 12, 2018, a female student filed an OIE complaint against

 Plaintiff, alleging that Plaintiff had a nonconsensual sexual encounter with her.

 Plaintiff states that it was consensual. There were no witnesses to the encounter.

 Defendants used their unconstitutional, February 7, 2018 Policy, which did not

 comport with Cincinnati, to adjudicate the complaint brought against Plaintiff,

 beginning on March 20, 2018.

         By April 2018, Plaintiff had earned all of the credits to graduate cum laude

 with a degree in engineering. But based only on a mere allegation and with no

 finding, the University placed an indefinite hold on Plaintiff’s degree and

 transcript. Plaintiff was then forced to hire an attorney and file a federal Complaint

 against Defendants for violating his due process rights, and did so on June 4, 2018.

 At the time Plaintiff filed his Motion for Temporary Restraining Order (“TRO”)

 and Preliminary Injunction (“PI”) on June 5, 2018 [TRO & PI, Dkt. #4, Page ID

 133-162], the University’s investigation into whether Plaintiff had violated the

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 Policy was close to completion. The next step would be for the University to make

 findings of fact under the Policy, which could have led to Plaintiff’s expulsion.

 Accordingly, Plaintiff moved this Court to halt this process that was clearly in

 violation of the line of Sixth Circuit precedent which had culminated in Cincinnati.

 In response, Defendants mounted a legally unsupportable argument that their

 private interview procedure actually complied with due process. Plaintiff also

 requested the release of his degree. (Dkt. #4, Page ID # 162).

       In addition, Doe sought leave to use a pseudonym in this case [Motion to

 Proceed Under Pseudonym, Dkt. # 2, Page ID # 95-108]. Defendants punitively

 fought the use of a pseudonym in an effort to deny Plaintiff privacy, causing him

 further harm, and to discourage him and others from pursuing litigation. (Response

 to Motion to Proceed Under Pseudonym, Dkt. # 7, Page ID # 229-238).

       On June 11, 2018, this Court held an on-the-record telephone conference,

 during which the parties discussed resolution of the first issue in Plaintiff’s Motion

 for TRO & PI, Defendants’ issuance of a clean, unmarked transcript to Plaintiff for

 his use in graduate school applications. The parties agreed to notify this Court by

 June 12 at 12:00pm as to whether Defendants would release Plaintiff’s transcript.

 Shortly after, on June 14, 2018, this Court granted Plaintiff’s Motion as to his

 demand that the University release and provide him with his transcript. This Court




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 further held the remaining issues would be decided after a hearing. (June 14, 2018

 Order, Dkt. # 19, Page ID # 269-270).

       On July 6, 2018, this Court, after hearing the remaining issues in Plaintiff’s

 Motion for TRO & PI, granted in part and denied in part Plaintiff’s Motion (July 6,

 2018 Order, Dkt. # 30, Page ID # 726-744). This Court instructed Defendants to

 apply the procedure set forth in their Statement with one exception (likely based on

 the Cincinnati decision): at the live hearing, the parties would write questions

 which would be posed by the hearing officer.

       On July 25, 2018, the University appealed this Court’s July 6, 2018 Order

 granting Plaintiff’s preliminary injunction [Defendants’ Notice of Appeal, Dkt. #

 32, Page ID # 818-820; Case No. 18-1870], and on August 7, 2018, Plaintiff cross-

 appealed this Court’s Order denying him the opportunity to cross-examine

 witnesses during a live hearing [Plaintiffs’ Notice of Cross-Appeal, Dkt. # 36, Page

 ID # 1067-1069; Case No. 18-1903]. On August 22, 2018, this Court granted

 Defendants’ Motion to Stay Pending Appeal [Order, Dkt. # 41, Page ID 1260-

 1262].

       On September 7, 2018 and in Doe v. Baum, et al, 903 F.3d 575 (6th Cir.

 2018), the Sixth Circuit issued its Opinion, holding in pertinent part, that

 Defendants’ Policy was unconstitutional.




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        On September 24, 2018, Defendants filed a Petition for Rehearing and

 Rehearing En Banc in Baum, [Case No. 17-2213, RE 49-1, p. 5-6], and argued that

 1) the Court’s holding conflicted with its prior decisions; and 2) the Court’s

 determination that Plaintiff satisfied the pleading requirements for stating an

 “erroneous outcome” claim under Title IX, 20 U.S. C. §1681(a) conflicted with the

 its prior decisions, drastically lowered Title IX pleading requirements and

 contradicted the record evidence. The Court denied the University’s Petition on

 October 11, 2018. (Case No. 17-2213, RE 56-1).

        In the instant matter and in an additional attempt to stop case from moving

 forward, Defendants argued to the Sixth Circuit that Plaintiff lacked standing and

 that his claims were not “ripe.” (Defendants’ Motion to Quash/Dismiss Appeal, RE

 23).

        On January 9, 2019, under pressure from this Court’s July 6, 2018 Order and

 the Baum decision, the University replaced its unconstitutional 2018 Policy

 adjudicating sexual misconduct allegations with a 2019 “Interim Policy,” because,

 as publicly conceded by University President Mark Schlissel on January 29, 2019,

 “the current law” required such a policy change.

        On April 10, 2019, the Sixth Circuit issued its Order [April 10, 2019 Order,

 RE 35-1] vacating this Court’s preliminary injunction, which restricted Plaintiff’s

 ability to cross-examine all witnesses during the University’s hearing process, and

                                          5
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 remanding the case for reconsideration in light of Baum and the University’s 2019

 Interim Policy, and never addressed the University’s standing and ripeness

 argument, which is now moot.

 III.   Legal Standard to Obtain Interim Fees

        An award of interim attorney fees is appropriate during the pendency of

 litigation where: “the court has entered a concrete order that ‘determines

 substantial rights of the parties,’ meaning ‘when a party has prevailed on the merits

 of at least some of his claims.’” Webster v. Sowders, 846 F.2d 1032, 1036 (6th Cir.

 1988) (citing Hanrahan v. Hampton, 446 U.S. 754, 757-58 (1980) (per curiam)

 (quoting Bradley v. Richmond Sch. Bd., 416 U.S. 696, 723 n.28, (1974))). 1 “A

 plaintiff crosses the threshold to ‘prevailing party’ status by succeeding on a single

 claim, even if he loses on several others and even if that limited success does not

 grant him the ‘primary relief’ he sought.” McQueary v. Conway, 614 F.3d 591, 603

 (6th Cir. 2010) (quoting Tex. State Teachers Ass’n v. Garland Independent School

 Dist., 489 U.S. 782, 790-791 (1989)).

        A plaintiff is entitled to such fees even when seeking to enforce a provision

 of 42 USC § 1983, as § 1988 of that title permits the court to allow the prevailing

 party reasonable attorney fees if he succeeds on any significant issue in litigation
 1
  The Court has noted that “[i]nterim fees are ‘especially appropriate’ when a party
 has prevailed on ‘an important matter’ in a case, even if the party ultimately does
 not prevail on all issues.” Webster, 846 F.2d at 1036 (6th Cir. 1988).

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 which achieves some of the benefit he sought in bringing the lawsuit. Hensley v.

 Eckerhart, 461 U.S. 424, 433 (1983) (quoting Nadeau v. Helgemoe, 581 F.2d 275,

 278-79 (1st Cir. 1978)). “The purpose of this provision is ‘to ensure that federal

 rights are adequately enforced.’” Woods v. Willis, 631 F. App'x 359, 363 (6th Cir.

 2015).

       Under this standard, a “prevailing” plaintiff must obtain a “judicially

 sanctioned change in the legal relationship of the parties.” Buckhannon Bd. of Care

 Home, Inc. 532 U.S. 598, 603 (2001). “A plaintiff prevails within the meaning of §

 1988 ‘when actual relief on the merits of his claim materially alters the legal

 relationship between the parties by modifying the defendant’s behavior in a way

 that directly benefits the plaintiff.” Woods, 631 F. App’x at 364 (quoting Lefemine

 v. Wideman, 568 U.S. 1, 4 (2012)).

       Indeed, the Supreme Court has held that a prevailing party should be

 awarded reasonable attorney fees “unless special circumstances would render such

 an award unjust.” Hensley, 461 U.S. at 429 (internal citations omitted). The Court

 has also declared that “delaying a fee award until the conclusion of litigation

 ‘would work substantial hardship on plaintiffs and their counsel’ and discourage

 the institution of actions that Congress intended to encourage by passage of

 attorney fee statutes.” Webster, 846 F.2d at 1036 (citing Bradley, 416 U.S. at 723).

 In keeping with this sentiment, 42 USC § 1988(b) permits a court to award interim

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 attorney fees to a prevailing party, even where a final decision in the case has yet

 to be rendered.

          Interim fees have been awarded in cases with disparate procedural postures,

 including after the award of preliminary injunctions 2, partial summary judgment3

 and temporary restraining orders 4. Regardless of the procedural posture of the case

 or the type of order entered, the touchstone for the award of interim fees is whether

 the outcome materially changed the parties’ legal relationship in the plaintiff’s

 favor.

          Regardless of what form a plaintiff’s merit-based victory takes, courts must

 conduct a contextual, case-specific inquiry to determine whether the victory

 represents an unambiguous indication of success on the merits. McQueary, 614

 F.3d at 601; Webster, 846 F.2d at 1036.

 IV.      Argument

          For the reasons set forth below, Plaintiff meets all the requirements entitling

 him to an award of interim attorney fees and costs. He seeks fees for a specific

 period of time, May 23, 2018 to April 10, 2019, the date the Sixth Circuit entered




 2
   See McQueary, 614 F.3d at 599; Kelly v. Corrigan, 890 F. Supp. 2d 778, 782-84
 (E.D. Mich. Aug. 20, 2012).
 3
   See Woods, 631 F. App'x 359.
 4
   See Lee v. Eller, No. 2:13-cv-87, 2015 WL 1286038, at *1 (S.D. Ohio Mar. 20,
 2015); Turner v. Wilkinson, 92 F.Supp.2d 697, 704 (S.D. Ohio Dec. 30, 1999).
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 its Order remanding the case to this Court, as well as the time counsel took to

 prepare this Motion and Brief.

       A.      Plaintiff Prevailed on his Due Process Claim

              1.    There Have Been Concrete Orders That “Determine
                    Substantial Rights of the Parties”

       During the course of litigation, Plaintiff has been victorious in four respects.

 First, this Court’s June 14, 2019 Order granting in part Plaintiff’s Motion for TRO

 and PI, allowed Plaintiff to obtain his official transcript and degree. Second, on

 July 6, 2018, this Court entered an Order which stopped the unconstitutional

 process contained in the February 7, 2018 Policy from being used and required

 Defendants to comply with Doe v. Cincinnati and provide Plaintiff with a live

 hearing and some cross-examination. Third, Plaintiff prevailed on Defendants’

 appeal to the Sixth Circuit seeking to reverse this Court’s Order. By virtue of the

 Court not ruling on Defendants’ standing and ripeness issues, it permitted this case

 to move forward – another victory for Plaintiff. Finally, Defendants’ February 7,

 2018 Policy is no longer in use. Even if Plaintiff does not prevail at the OIE level,

 his success on the merits in avoiding an unconstitutional process is inviolate.

       In the distinguishable case of Webster v. Sowders, 846 F.2d 1032 (6th Cir.

 1988), the Sixth Circuit found that the lower court improperly awarded interim

 attorney fees after it imposed a preliminary injunction against inmates being forced


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 to conduct asbestos abatement. The Court reasoned that because the lower court

 doubted whether the plaintiffs would eventually be able to prevail on their Eighth

 Amendment claim (and indeed, it appeared substantially likely that plaintiffs’

 claim would ultimately fail), the award of the injunction was a “procedural

 victory,” rather than a determination of the substantial rights underlying plaintiffs’

 claim which would have entitled them to interim relief. Id. at 1036-1037.

 Webster’s bid for interim fees failed because neither the lower court nor the Sixth

 Circuit made a final determination as to legal right, which supported liability.

       Here, both this Court and the Sixth Circuit made concrete, permanent rulings

 requiring a change in Defendants’ Policy prior to proceeding against Plaintiff.

 These holdings are by no means merely procedural, and an assessment of them as

 well as the practical significant relief obtained shows that the substantial rights of

 the parties have been determined and that Plaintiff has undisputedly prevailed on

 the merits of his due process claim. An award of interim fees is, therefore,

 appropriate under the circumstances.

              2.    This Courts’ Rulings Have Resulted in a Judicially
                    Sanctioned Change in the Parties’ Relationship.

       Through litigation, Plaintiff has achieved a “judicially sanctioned change in

 the legal relationship of the parties.” Woods, 631 F. App'x at 363–65 (internal




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 citations omitted). This Court and the Sixth Circuits’ decisions directly benefitted

 Plaintiff by modifying the University’s behavior towards him.

       In Woods, 631 F. App'x at 363–65 (6th Cir. 2015), the Sixth Circuit held that

 a plaintiff who prevailed in obtaining an injunction preventing defendant from

 violating her due process rights properly obtained interim relief. Like in the instant

 case, the relief obtained in Woods extended to the manner in which those violations

 had been committed. Here, this Courts’ rulings speak directly to the policy and

 procedures under which the University began adjudicating the complaint against

 Plaintiff as well as any findings of fact and future hearings that the University may

 conduct against him. This is relief and the University’s behavior has been modified

 in a way that directly benefits Plaintiff.

  V.   Plaintiff’s Reasonable Attorney Fees and Costs

       A “reasonable” fee is one that is sufficient to induce a capable attorney to

 undertake the representation of a meritorious civil rights case. Perdue v. Kenny A.

 ex rel. Winn, 559 U.S. 542, 552 (2010). In making this determination, the Court

 should apply the lodestar method. Id. at 552. Given the fact that Plaintiff is a

 student, Ms. Gordon has charged Plaintiff a reduced hourly fee of $350, and did

 charge for all time expended (her current rate is $550 per hour). Indeed, “[w]hether

 or not [a litigant] agreed to pay a fee and in what amount is not decisive…Such

 arrangements should not determine the court’s decision. The criterion for the court

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 is not what the parties agree but what is reasonable.” Blair v. Harris, 993

 F.Supp.2d 721, 734 (E.D. Mich. 2014) (quoting Blanchard v. Bergeron, 489 U.S.

 87, 92 (1989)).

       A.     Plaintiff’s Lodestar Amount

       First, the Court should multiply the number of hours reasonably expended

 on the case by a reasonable hourly rate. Hensley, 461 U.S. at 433. Typically, the

 Court applies the current or prevailing market rate. Blum v. Stenson, 465 U.S. 886,

 886 (1984). The prevailing market rate is the rate that lawyers of comparable skill

 and experience can reasonably expect to command within the venue of the court of

 record. Ne. Ohio Coal. for the Homeless v. Husted, 831 F.3d 686, 715 (6th Cir.

 2016) (citing Geier v. Sundquist, 372 F.3d 784, 791 (6th Cir. 2004)). Accordingly, a

 court may look to a party’s submissions, awards in analogous cases, state bar

 association guidelines, and its own knowledge and experience in handling similar

 fee requests. Husted, 831 F.3d at 715. It is the burden of the party seeking attorney

 fees to adequately document and submit evidence supporting the hours worked.

 Hensley, 461 U.S. at 433.

       In determining the reasonableness of the fee charged and the hours incurred,

 the Court is to consider the following factors: (1) the time and labor required; (2)

 the novelty and difficulty of the questions; (3) the skill requisite to perform the

 legal service properly; (4) the preclusion of other employment by the attorney due

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 to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or

 contingent; (7) time limitations imposed by the client or the circumstances; (8) the

 amount involved and the results obtained; (9) the experience, reputation and ability

 of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of

 the professional relationship with the client; and (12) awards in similar cases.

 Hamlin v. Charter Township of Flint, 165 F.3d 426 (6th Cir. 1999) (citing Hensley,

 461 at 430 n.3); Geier, 372 F.3d at 792 (quoting Hensley, 461 U.S. at 434 n. 9 and

 noting factors are subsumed in lodestar).

       Plaintiff’s attorneys’ verified time records and affidavits are attached as

 Exhibits A, J and K. The following factors demonstrate the reasonableness of

 these fees.

               1.    The Customary Fee 5

        In order to determine whether the hourly rates claimed are reasonable, the

 court looks to “rates prevailing in the community for similar services by lawyers of

 reasonably comparable skill, experience and reputation.” Blum, 465 at 896, n. 11

 (emphasis added).

       Ms. Gordon has been a practicing trial attorney for 42 years, specializing

 throughout that time in employment discrimination and civil rights violations.

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   These facts also support and weigh in favor of the ‘experience, reputation and
 ability of the attorneys’ and ‘skill requisite to perform the legal service properly’
 factors.
                                          13
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 Exhibit C, Gordon CV. She previously worked as an Assistant Attorney General,

 Civil Rights and Civil Liberties Division, for the State of Michigan, and as a trial

 attorney for the Equal Employment Opportunity Commission. She has been in

 private practice since 1980. She has been a member and officer of numerous

 professional organizations. She also has frequently lectured on employment and

 trial topics, and has contributed to a number of books in these areas.

       Ms. Gordon has been listed in The Best Lawyers in America, Woodward and

 White, 1987-2019, as one of the top lawyers in Michigan; and was listed in

 Michigan Super Lawyers as one of the top 10 attorneys in Michigan. The firm of

 Deborah Gordon Law was listed among the “Best Law Firms” of 2016 by U.S.

 News and World Reports. She has tried over 30 employment or civil rights cases to

 verdict, and has obtained several multi-million dollar verdicts. Gordon has been a

 cooperating, pro bono attorney for the ACLU of Michigan in several important

 civil rights cases, including Sitz v. Michigan State Police, 443 Mich. 744 (1993),

 which resulted in the prohibition of drunk driving road blocks in the State of

 Michigan. Many of Gordon’s cases have received media attention, some national,

 because of their importance to the public interest.

       Over a decade ago, Judge Paul Borman recognized in Shuster v. Daimler

 Chrysler Corp., 01-70443 that Deborah Gordon was both “experienced and

 regarded counsel in this field.” Exhibit D. The next year, Judge Steeh also

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 recognized Ms. Gordon as “an experienced and highly regarded counsel in the

 field,” and he approved a rate then above the 95th percentile of other local

 practitioners. Exhibit E. In 2009, Judge Battani awarded Gordon $400/hour.

 Exhibit F. In 2012, Judge Barry Howard awarded Gordon $450 per hour. Exhibit

 G. In 2017, Judge Hood awarded Gordon $500 per hour. Exhibit H.

       In 2011, Judges of this District recognized that $550 an hour is “comparable

 to the rates charged by the most experienced and accomplished attorneys in the

 Detroit metropolitan area.” Flagg v. City of Detroit, 2011 WL 6131073 (E.D.

 Mich. 2011). As Ms. Gordon is recognized in that top-most echelon of

 practitioners in this area, she requests a fee of $550 per hour.

       The rates claimed by Plaintiff are consistent with the State Bar of Michigan

 Survey on the Economics of Law Practice, Exhibit I. 2017 State Bar Econ. of Law

 Practice at 4, 6, which analyzes billing rates as follows:

 By Field of Practice                    Mean                 95th Percentile
 Labor & Employment Law                  $301                 $550

 By Years in Practice                    Mean                 95th Percentile
 Greater than 35 years of practice       $284                 $510

              2.     Time and Labor Involved

       The time and labor involved in obtaining the above referenced Orders from

 this Court and the Sixth Circuit were significant. Plaintiff was forced file a lawsuit

 against a University that refused to comply with the Sixth Circuit’s ruling in

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 Cincinnati; file a Motion for Pseudonym and a complicated and detailed Motion

 for a TRO and PI; respond to Defendants’ Appeal to this Court’s July 6, 2018

 Order granting in part and denying in part Plaintiff’s Motion for TRO and

 Preliminary Injunction; file a complex and intricate cross-appeal to Defendants’

 Appeal and this Court’s July 6, 2018 Order; oppose a Motion to Quash/Dismiss

 Cross-Appeal and file a Motion for Leave to File Sur-Reply to Defendants’ motion

 based on critical, newly acquired facts. These pleadings applied multifaceted and

 nuanced legal frameworks to a complex fact pattern.

       While Defendants were represented by two large corporate law firms, with

 unlimited resources, by contrast, Deborah Gordon has handled Plaintiff’s case

 almost entirely by herself. Verified time records for Deborah Gordon Law are

 attached, Exhibit A. All time expended was reasonable and necessary to the

 processing of this case. Id. In fact, the hours expended by Deborah Gordon Law in

 this matter are understated. As set forth in that verification, the actual hours

 expended by the firm are significantly higher than those documented in the

 attached time sheets, as Plaintiff’s counsel spent countless additional hours, not

 tracked by the firm, in phone calls with the client, discussions between counsel

 about the case, etc.




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              3.     The Amount Involved and the Results Achieved 6

       When the Court is assessing attorney fees, “the most crucial factor is the

 degree of success attained.” Hensley, 461 U.S. at 436. Although district courts

 have discretion in determining the proper award, they must “consider the

 relationship between the extent of success and the amount of the fee award.” Id. at

 438. The “significance of the overall relief obtained by the plaintiff” influences the

 reasonableness of the time expended on the litigation. Id. at 435. As set forth

 above, Plaintiff has obtained excellent results: two TRO & PI Orders, one granting

 Plaintiff his official transcript and the other requiring the University to provide

 Plaintiff with a live hearing and cross-examination, during which Plaintiff could

 question the complainant directly through written questions; and an Order from the

 Sixth Circuit permitting this case to move forward and remanding it to this Court

 for reconsideration in light of Baum and the University’s Interim Policy.

       As Plaintiff’s Verified Costs Itemization, Exhibit B, reveals, Plaintiff

 invested over $3,737.62 in costs in this matter to lodge and defend his due process

 claim. Based on the significant achievements obtained, Plaintiff seeks recompense

 for all attorney fees and costs associated with this substantial investment.

              4.     The Difficulty of the Case and the Skill Requisite to
                     Perform the Legal Service Properly

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   Plaintiff has not yet claimed damages, as there have been no findings of fact
 found against him.
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       This case has been very difficult in several respects. First, it is a difficult,

 complex area of the law. Second, it has a complicated procedural history, being

 back and forth from the Sixth Circuit. Third, the case involves a convoluted

 adjudicatory process and a Sexual Misconduct Policy that is literally in flux, as

 well as Defendants who continue to blatantly disregard the law.           Fourth, the

 dispositive issues in this case are complex and have hinged on nuanced aspects of

 constitutional and statutory law. They also involve a rather passionate political

 climate. As set forth above, Ms. Gordon has been very successful in her

 representation of Plaintiff despite these obstacles, and she has done so almost

 entirely alone. Thus, the difficulty of this case also weighs in favor of a full

 compensatory award.

              5.     The Undesirability of the Case

       Plaintiff’s counsel’s office took this case despite the factors weighing

 against doing so. It was against Defendants who forced Plaintiff to undergo a

 lengthy, unconstitutional investigation based on a mere allegation, and who

 continue to flout the law and refuse to create a policy that comports with due

 process.7

 7
   As acknowledged in Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714, 719
 (5th Cir. 1974), the case from which the lodestar factors originate, “[c]ivil rights
 attorneys face hardships in their communities because of their desire to help the
 civil rights litigant… Oftentimes his decision to help eradicate discrimination is not
 pleasantly received by the community or his contemporaries.” This holds
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              6.     The Nature and Length of the Professional Relationship
                     With the Client

       Ms. Gordon has been representing Plaintiff for one year and throughout this

 period of time, Ms. Gordon has logged many hours.             As mentioned above,

 although Ms. Gordon’s current rate is $550 an hour, she has charged Plaintiff a

 reduced rate of $350 an hour because he is a student and because it would be

 almost impossible for a person to mount a case such as this while paying the full

 hourly rate for each hour expended. “The criterion for the court is not what the

 parties agree but what is reasonable.” Blair, 993 F.Supp.2d at 734 (citing

 Blanchard, 489 U.S. at 92). Plaintiff also relies on the Court’s own evaluation as

 to Plaintiff’s counsel’s skill, the time and labor involved in this case, and the

 results obtained.

       B.     Adjustments to Plaintiff’s Lodestar Amount

       Second, the lodestar amount may be adjusted up or down to “reflect relevant

 considerations peculiar to the subject litigation. Adcock-Ladd v. Sec’y of Treasury,

 227 F.3d 343, 349 (6th Cir. 2000). However, there is a “strong presumption”

 favoring the prevailing attorney’s entitlement to her lodestar fee. Adcock-Ladd,

 227 F.3d at 349. Accordingly, modifications to the lodestar are only proper in




 especially true for this case, as Ms. Gordon is defending the constitutional rights of
 an individual who has been accused of sexual misconduct.
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 “rare” and “exceptional” circumstances supported by both “specific evidence on

 the record and detailed findings.” Id. (internal citations omitted).

       Because at this time Plaintiff seeks interim fees relative to his meritorious

 due process claim alone, it is not appropriate to adjust the fee award downward for

 claims whose merits have yet to be decided. The Court should award the fees that

 are reasonable in relation to the results obtained. Hensley, 461 U.S. at 434. In this

 case, although claims remain outstanding against Defendants, Plaintiff has

 achieved a level of success that makes the hours reasonably expended a

 satisfactory basis for making a fee award. Id. at 440.

 VI.   Conclusion

       WHEREFORE, Plaintiff requests that this Honorable Court enter an Order

 holding that Plaintiff is a prevailing party for the purposes of obtaining an interim

 fee award, and accordingly that Plaintiff is entitled to an award of interim attorney

 fees and costs including:

       A. Attorney fees (Deborah Gordon Law) in the amount of $109,246.5.
          Exhibit A.

       B. Costs (Deborah Gordon Law) in the amount of $3,737.62. Exhibit B.

       Plaintiff further requests oral argument regarding the relief requested in the

 instant Motion and Brief.




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 Dated: May 23, 2019                    Respectfully submitted,

                                        DEBORAH GORDON LAW
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                          CERTIFICATE OF SERVICE

        I hereby certify that on May 23, 2019, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing and service of said documents to all parties through their
 counsel of record.
                                         DEBORAH GORDON LAW
                                         /s/Deborah L. Gordon (P27058)
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